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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division



  ____________________________________
  Horacio Sequeira,                    )                   Case No. 1:16-cv-25052-JEM
                                       )
                          Plaintiff,   )
                                       )
                 v.                    )
                                       )
  Republic of Nicaragua, City of       )
  Chinandega, Eduardo Jose Callejas    )
  Callejas, and Estrellita del Carmen  )
  Troz Martinez,                       )
                                       )
                          Defendants.  )


        OPPOSITION OF DEFENDANTS REPUBLIC OF NICARAGUA, CITY OF
        CHINANDEGA, AND ESTRELLITA DEL CARMEN TROZ MARTINEZ TO
         PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT


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                              and Estrellita del Carmen Troz Martinez


                                       February 16, 2018
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                                        I.     INTRODUCTION

          Defendants Republic of Nicaragua (“Nicaragua”), City of Chinandega (“Chinandega”)

  (Nicaragua and Chinandega together, the “Sovereign Defendants”), and Estrellita del Carmen

  Troz Martinez (“Troz”) (the Sovereign Defendants and Troz together, the “Nicaraguan

  Defendants”) submit this opposition to the motion of Plaintiff Horacio Sequeira for leave to file

  the amended complaint attached to his motion. Docket Entry (“D.E.”) 70, 70-2. The Court

  should deny the motion because the proposed amendment fails to cure the deficiencies that led to

  the dismissal of Plaintiff’s original complaint and otherwise is futile.

                                  II.        PROCEDURAL HISTORY

          Plaintiff commenced this action pro se on December 6, 2016. D.E. 1. As Magistrate

  Judge Goodman observed, Plaintiff’s “complaint and other filings contain inconsistent facts,

  incomplete thoughts, and, frankly, a morass of confusing statements that make it difficult . . . to

  navigate through the true course of events in this case.” D.E. 45 at 2 n.2.

          This “morass” consisted of four types of allegations: First, Plaintiff alleged that the

  Nicaraguan Defendants and co-Defendant Eduardo Jose Callejas Callejas “committed illegal

  takings” of Plaintiff’s real property allegedly “consisting of one thousand acres of Land” called

  “El Pital” “located in the municipality of El Viejo of department of Chinandega, Nicaragua,”

  D.E. 1 ¶¶ 10, 28, 41, and personal property allegedly consisting of “five hundred farm animals.”

  D.E. 1 ¶¶ 28, 41. Second, Plaintiff asserted breach of implied covenant of good faith and fair

  dealing claims, alleging that “Defendants . . . had a duty to act fairly and in good faith . . . in

  meeting their responsibilities under the contracts they signed with” him. D.E. 1 ¶¶ 123–25. The

  complaint’s only allegations about contracts, however, concerned Plaintiff’s alleged contracts

  with Callejas (and Callejas’s wife). D.E. 1 ¶¶ 117–21. Third, Plaintiff asserted tort claims of

  torture; cruel, inhumane and degrading treatment; assault and battery; trespass to land and

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  chattels; intentional and negligent interference with prospective economic advantage and

  business relationship; and intentional infliction of emotional distress. See D.E. 1 ¶¶ 74–77, 79–

  82, 84–90, 92–97, 99–103, 105–13, 115–16, 129–34. Fourth, Plaintiff sought to overcome the

  Sovereign Defendants’ and Troz’s anticipated jurisdictional defenses with an assortment of

  allegations of conduct related to the United States. See, e.g., D.E. 1 ¶¶ 7, 15, 17, 19, 44, 59.

          The original complaint alleged that Nicaragua is a sovereign State and that Chinandega is

  a political subdivision thereof, as does the proposed amended complaint. D.E. 1 ¶¶ 3, 23, 24;

  D.E. 70-2 ¶¶ 33, 36. There is no dispute that each is a “foreign state” under §1603(a) of the

  Foreign Sovereign Immunities Act, 28 U.S.C. §§1602 et seq. (“FSIA”), and presumptively

  immune from the Court’s jurisdiction under FSIA §1604. The original complaint alleged four

  exceptions to foreign sovereign immunity: (1) the “waiver” exception in §1605(a)(1); (2) the

  “commercial activity” exception in §1605(a)(2); (3) the “expropriation” exception in

  §1605(a)(3); and (4) the “tort” exception in §1605(a)(5). D.E. 1 ¶¶ 2, 13.1

          The Nicaraguan Defendants filed motions to dismiss the original complaint. D.E. 25, 26.

  The Sovereign Defendants moved for dismissal based on Plaintiff’s failure to comply with FRCP

  8(a); lack of subject matter jurisdiction under the FSIA; lack of personal jurisdiction under 28

  U.S.C. §1330; failure to serve process as required by FSIA §1608(a); failure to state a claim

  upon which relief can be granted; and improper venue under 28 U.S.C. §1391(f). D.E. 25. In

  addition to these Rule 8(a) and 12(b)(6) grounds, Troz moved for dismissal for lack of personal

  jurisdiction; failure to serve process as required by FRCP 4(f); and assuming the Court dismissed

  Plaintiff’s claims against the Sovereign Defendants, lack of subject matter jurisdiction over



  1
   As discussed below, Plaintiff only asserts the waiver and commercial activity exceptions in his proposed amended
  complaint.


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  Plaintiff’s claims against Troz, as there would be no remaining basis for federal question

  jurisdiction and no diversity. D.E. 26.2

             Seeking to fend off dismissal, Plaintiff submitted purported evidence with his briefs. In

  opposing Callejas’s motion, Plaintiff submitted a declaration with 79 pages of exhibits, and an

  “errata” with purported translations of some of those exhibits. D.E. 17, 20, 21. Plaintiff’s

  exhibits showed that he has had a dispute concerning El Pital with Callejas, and the dispute has

  been the subject of Nicaraguan court proceedings continuing through 2015. See, e.g., D.E. 1 ¶¶

  118–19; D.E. 17 at 14–94; D.E. 20 at 33–113; D.E. 21 at 4–22. The only “contract” that Plaintiff

  submitted is what appears to be an alleged July 18, 2004 rental agreement between Plaintiff and

  Callejas, both of whom expressly “appear[ed] on their own behalf and representing themselves,”

  and it appears that Callejas made payments to Plaintiff for “Pital.” See D.E. 1 ¶ 118; D.E. 20 at

  35, 38; D.E. 21 at 6; D.E. 25 Exh. 1 (2004 Rental Agreement).3

             In opposing the Nicaraguan Defendants’ motions, Plaintiff submitted briefs and

  declarations different than those he submitted regarding Callejas’s motion. These presented a

  whole new tale about the alleged events upon which his claims are based. D.E. 29, 30, 31, 32.

  But they confirmed that those events fundamentally concern a Nicaraguan land dispute, and that

  the alleged acts upon which Plaintiff’s claims are based all took place in Nicaragua. See, e.g.,

  D.E. 30 ¶¶ 17–30 (Plaintiff asserting that contracts regarding El Pital were concluded between

  himself and Callejas (and Callejas’s wife), Callejas paid him under the contracts, Callejas

  breached the contracts in 2008, and Plaintiff made demands against Callejas).



  2
      Callejas also moved to dismiss the complaint under Rule 12(b)(6). D.E. 16.

  3
    Plaintiff submitted translations of the Rental Agreement, which contained errors and were in some passages
  incomprehensible. The Sovereign Defendants submitted a correct certified translation. D.E. 25-1.


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         The Magistrate Judge issued his Omnibus Report and Recommendations on the motions

  to dismiss (“Magistrate Judge’s Report,” D.E. 45). He recommended that the Court dismiss the

  complaint for lack of subject matter jurisdiction over Plaintiff’s claims against the Sovereign

  Defendants under the FSIA, and lack of subject matter jurisdiction over the claims against the

  individual Defendants for lack of diversity. D.E. 45 at 2–3. The Magistrate Judge did not find it

  necessary to reach Defendants’ other grounds for dismissal. Specifically, Magistrate Judge

  Goodman found:

         (1)     The waiver exception in FSIA §1605(a)(1) did not apply because (a) Plaintiff did
                 not allege that either of the Sovereign Defendants had explicitly waived their
                 sovereign immunity; (b) the only contract to which Plaintiff alleged he was a
                 party was between Plaintiff and Callejas; (c) Plaintiff did not show that Callejas is
                 a Nicaraguan government official, and thus all of the claims against Callejas were
                 asserted against a private individual; and (d) even if there were a contract to
                 which Nicaragua or Chinandega was a party, entering into a contract alone does
                 not constitute an implied waiver of sovereign immunity. D.E. 45 at 12–14.

         (2)     None of the three prongs of the commercial activity exception in FSIA
                 §1605(a)(2) applied because (a) the core of Plaintiff’s claims against Nicaragua
                 and Chinandega was their alleged expropriation of his property, which is a
                 uniquely governmental and not a commercial activity; (b) with the exception of
                 execution of the alleged contract between Plaintiff and Callejas, all of the alleged
                 activity on which the complaint was based occurred in Nicaragua, not the United
                 States; (c) alleged sales of meat products and collection of funds in the United
                 States and the alleged use of those funds were not the foundation of the
                 complaint, and thus were jurisdictionally irrelevant; and (d) alleged financial loss
                 in the United States does not constitute a “direct effect” in this country. D.E. 45
                 at 14–18.

         (3)     The expropriation exception in FSIA §1605(a)(3) did not apply because Plaintiff’s
                 alleged property was not taken by either of the Sovereign Defendants, as
                 Plaintiff’s sworn testimony was that Troz and Callejas orchestrated and carried
                 out the taking of El Pital for their own personal gain. D.E. 45 at 18–26.

         (4)     The tort exception in FSIA §1605(a)(5) did not apply because all of the alleged
                 torts occurred in Nicaragua. D.E. 45 at 26.

         (5)     Once the case is dismissed as to the Sovereign Defendants, it must be dismissed
                 as to Troz and Callejas for lack of complete diversity. D.E. 45 at 27–28.



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          Plaintiff objected to the Magistrate’s Report, primarily relying on assertions that did not

  appear anywhere in the original complaint and that he did not raise in opposing the motions to

  dismiss. He also raised several objections relating to matters that had been before the Magistrate

  Judge, confined to the expropriation and commercial activity exceptions. Specifically, he

  contended that:

          (1)     The Magistrate Judge should have found that §1605(a)(3) was applicable, because
                  Troz and Callejas allegedly acted in their “official capacity” when they committed
                  an “illegal taking” of El Pital by fraudulently registering title in Callejas’s name
                  and, therefore, the Sovereign Defendants were the real parties in interest. D.E. 51
                  at 4–6.

          (2)     The Magistrate Judge should have found that the second prong of §1605(a)(2)
                  was satisfied, because the alleged selling of Plaintiff’s cattle as meat products in
                  the United States constituted an act performed in the United States in connection
                  with commercial activity elsewhere. D.E. 51 at 5.

          Plaintiff raised no objection to the Magistrate Judge’s Report insofar as it found that the

  waiver exception was inapplicable. As to the Magistrate Judge’s finding that the tort exception

  was inapplicable, Plaintiff did not contest that all of the torts alleged in his complaint occurred in

  Nicaragua. His only objection was based upon a new theory that he had never previously raised,

  i.e., that the sale of meat in the U.S. constituted a tort.

          This Court adopted the Magistrate Judge’s Report in its entirety, granted the Nicaraguan

  Defendants’ and Callejas’s motions to dismiss for lack of subject matter jurisdiction, and ordered

  the case closed. D.E. 57. The Court’s adjudication was based upon its own “careful

  consideration” of the Magistrate Judge’s Report, “the entire file and record,” and its “de novo

  review of the issues that the objections to the Magistrate Judge’s Report and Recommendation

  present.” D.E. 57 at 1.

          Plaintiff then moved for clarification of whether this Court had dismissed his complaint

  with or without prejudice. D.E. 58 at 1–2. Plaintiff also asked that the Court allow him an

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  opportunity to amend his complaint to attempt to cure the deficiencies identified by the

  Magistrate Judge. D.E. 58 at 2.

          This Court issued an order allowing Plaintiff until February 2, 2018 to file a motion for

  leave to amend. D.E. 69. Plaintiff filed such a motion, attaching a proposed 44-page amended

  complaint. D.E. 70, 70-2. He did not, however, explain how his amended pleading attempts to

  overcome any of the deficiencies identified in the Magistrate Judge’s Report.

                                          III.    ARGUMENT

          The Eleventh Circuit has made clear that “leave to amend [a complaint] may be denied

  properly when the proposed amendment would be futile.” Gibson v. Doe, 629 Fed. App’x 868,

  871 (11th Cir. 2015) (citing Hall v. United Ins. Co., 367 F.3d 1255, 1262 (11th Cir. 2004)); cf.

  Foman v. Davis, 371 U.S. 178, 182 (1962) (“futility of amendment” is a reason to deny leave to

  amend). Amendment is futile if “the complaint as amended would still be properly dismissed.”

  Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007); see Christman v. Walsh, 416 Fed.

  App’x 841, 844 (11th Cir. 2011). While “the court ‘should freely give leave [to amend] when

  justice so requires’ . . . justice does not require district courts to waste their time on hopeless

  cases.” Mizzaro v. Home Depot, 544 F.3d 1230, 1255 (11th Cir. 2008). Therefore, “leave may

  be denied if a proposed amendment fails to correct the deficiencies in the original complaint.”

  Id.

          Screening the proposed amended complaint is particularly important here, because

  permitting Plaintiff to extend the litigation based upon an untenable pleading would run afoul of

  the principles underlying the FSIA. See EM Ltd. v. Banco Central De La Republica Argentina,

  800 F.3d 78, 88 (2d Cir. 2015) (unless the court can conclusively determine that pleadings

  establish an exception to sovereign immunity, as a matter of law, “it would be inconsistent with

  the underlying purpose of the foreign-sovereign-immunity doctrine to subject [a defendant with
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  immunity under the FSIA] to further burdensome litigation”); Kelly v. Syria Shell Petroleum

  Dev. B.V., 213 F.3d 841, 849 (5th Cir. 2000) (“FSIA immunity is immunity not only from

  liability, but also from the costs, in time and expense, and other disruptions attendant to

  litigation”); In re Papandreou, 139 F.3d 247, 251 (D.C. Cir. 1998) (same).

              A. The Proposed Amended Complaint Is Futile As To Troz

                     1.      Plaintiff has abandoned all claims against Troz.

              In attempting to circumvent the Magistrate Judge’s Report, Plaintiff now proclaims that

  he is not seeking any relief against Troz personally. Yet he continues to include her as a

  defendant in his proposed amended pleading. It is hard to imagine more of an exercise in

  futility.

              In the original complaint, Plaintiff asserted claims, and sought relief, against all

  Defendants. See D.E. 1, Counts I-X, XII-XIV & Prayer for Relief. Now, however, he reverses

  course and says that “[t]his suit is not against [Troz] personally” and that “Mr. Sequeira does not

  seek damages from Ms. Troz’s own personal pocket.” D.E. 70-2 ¶¶ 5–6. Instead, Plaintiff’s

  proposed amended complaint asserts that he is suing Troz “in her official capacity . . . for her

  participation for the benefit of Nicaragua,” id. ¶ 5; that “he is seeking redress from Nicaragua

  and Chinandega,” but not Troz, id. ¶ 6; that “Nicaragua and Chinandega are the real parties in

  interest in this lawsuit,” id. ¶ 7; and that Troz “is not the real party in interest.” Id. Moreover, in

  contrast to the original complaint, which asserted 13 counts against Troz, the proposed amended

  complaint does not assert any counts against Troz. See D.E. 70-2 ¶¶ 78–186.

              Consequently, the allegations in the proposed amended complaint are self-defeating as to

  Troz. While Plaintiff would like to include Troz as a defendant, he has now disavowed asserting

  any claims or seeking any relief against her personally and taken the position that she is a not a

  real party in interest. That is fatal to any attempt by Plaintiff to make Troz a defendant in his

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  amended pleading. See Williams v. E.I. DuPont de Nemours Co., 581 F. Supp. 791, 793 (M.D.

  Tenn. 1983) (“If no relief is requested against [a defendant], he should be dismissed.” (citing

  Benton v. Rhodes, 586 F.2d 1, 4 (6th Cir. 1978)) (alteration in original)); see also Harris v.

  Fairweather, No. 11 Civ. 2152, 2012 U.S. Dist. LEXIS 151696, at *18 (S.D.N.Y. Oct. 19, 2012)

  (dismissing defendants because no relief was sought against them); Nelson v. Dean, 528 F. Supp.

  2d 1271, 1282–83 (N.D. Fla. 2007); Dr. Reddy's Labs., Inc. v. Thompson, 302 F. Supp. 2d 340,

  343 (D.N.J. 2003); Zurich Ins. Co. v. Health Sys. Integration, Inc., No. 97-4994, 1998 U.S. Dist.

  LEXIS 3362, at *5–6 (E.D. Pa. Mar. 19, 1998); In re MiScott Corp., 49 B.R. 893, 895 n.1

  (Bankr. S.D. Fla. 1985).

                 2.      Troz has not been properly served and is not within this Court’s
                         jurisdiction.

         The motion to amend should also be denied as to Troz because she has not been properly

  served with process and this Court otherwise cannot exercise personal jurisdiction over her, for

  reasons she explained in moving to dismiss the original complaint. D.E. 26 at 2–9. While

  Magistrate Judge Goodman did not reach these issues in his Report, they remain obstacles that

  Plaintiff has not, and as to personal jurisdiction cannot, overcome, rendering the proposed

  amendment futile as to Troz.

                 3.      The claims against Troz are barred by official immunity.

         Even if Plaintiff were proposing to assert claims against Troz personally and recover

  damages from her, which he is not, and could establish personal jurisdiction over her, which he

  cannot, his proposed amendment would still be futile as to Troz. “[A] foreign official may

  assert immunity for official acts performed within the scope of his duty.” Yousuf v. Samantar,

  699 F.3d 763, 775 (4th Cir. 2012). This official-act immunity has long been recognized at

  common law, and is not abrogated by the FSIA. See id. at 768 (“the common law, not the FSIA,


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   continues to govern foreign official immunity”) (citing Samantar v. Yousuf, 560 U.S. 305, 320

   (2010)); see also Carpenter v. Republic of Chile, 610 F.3d 776, 780 (2d Cir. 2010) (foreign

   officials enjoy common-law immunity separate from the immunity granted to states under the

   FSIA).

            The criteria for official immunity are straightforward. When a claim is: (a) brought

   against a foreign official, and (b) based on actions taken in an official capacity, immunity

   attaches, and the claim must be dismissed. See Newman v. Jewish Agency for Israel, No. 16-cv-

   7593, 2017 U.S. Dist. LEXIS 202524, at *7–9 (S.D.N.Y. Dec. 8, 2017); El Omari v. Ras Al

   Khaimah Free Trade Zone Auth., No. 16 Civ. 3895, 2017 U.S. Dist. LEXIS 136172, at *29–32

   (S.D.N.Y. Aug. 17, 2017); Mireskandari v. Mayne, No. CV 12-3861, 2016 U.S. Dist. LEXIS

   38944, at *46–61 (C.D. Cal. Mar. 23, 2016); Richardson v. Att’y Gen., Civil No. 2008-144, 2013

   U.S. Dist. LEXIS 117763, at *38–48 (D.V.I. Aug. 20, 2013).

            Plaintiff’s proposed amended complaint alleges that Troz is a government official who

   acted under the direction and control of Nicaragua and Chinandega. D.E. 70-2 ¶¶ 5–7. It also

   avers that Plaintiff’s claims relate only to actions taken in Troz’s official capacity. Id. ¶¶ 5, 71;

   see also id. ¶¶ 53, 82, 93, 96. Therefore, his proposed amendment is barred as to Troz by

   common law immunity.

                   4.      Nicaragua’s sovereign immunity encompasses Troz because it is the real
                           party in interest.

            Even if Troz did not enjoy common law official immunity, the proposed amended

   complaint against her would be barred because she shares in Nicaragua’s sovereign immunity.

   Although the FSIA does not directly govern the immunity of foreign officials, the Supreme

   Court has held that “some actions against an official in his official capacity should be treated as

   actions against the foreign state itself, as the state is the real party in interest.” Samantar, 560


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   U.S. at 325. In such situations, the sovereign immunity enjoyed by the foreign state—the real

   party in interest—extends to the individual defendant.

           For example, in Gomes v. ANGOP, the district court dismissed claims against individual

   Angolan officials upon holding that “the real parties in interest in this case are Angola and its

   political institutions, all of which are immune from the jurisdiction of this Court [under the

   FSIA].” No. 11-CV-0580, 2012 U.S. Dist. LEXIS 119049, at *54–55 (E.D.N.Y. Aug. 22, 2012).

   In Odhimabo v. Republic of Kenya, the district court held that because “the Kenyan government

   is ‘the real party in interest’ . . . the suit against the individual defendants will be treated as one

   against the Republic of Kenya.” 930 F. Supp. 2d 17, 35 (D.D.C. 2013); see also Smith Rocke

   Ltd. v. República Bolivariana de Venez., No. 12 Cv. 7316, 2014 U.S. Dist. LEXIS 9692, at *32

   (S.D.N.Y. Jan. 27, 2014) (dismissing claims against individual government officials who “were

   sued in their official capacity” where “the real party in interest is Venezuela,” which was

   immune from suit under the FSIA.); Mohammadi. v. Islamic Republic of Iran, 947 F. Supp. 2d

   48, 72 (D.D.C. 2013) (holding that Iran’s sovereign immunity required dismissal of claims

   against individual government officials because Iran was the real party in interest).

           There are two hallmarks of a case in which a foreign state, rather than an individual, is

   the real party in interest. The first is that an individual has been sued in her official capacity.

   See, e.g., Smith Rocke Ltd., 2014 U.S. Dist. LEXIS 9692, at *32; Mohammadi, 947 F. Supp. 2d

   at 72; Gomes, 2012 U.S. Dist. LEXIS 119049, at *54–55. The second is that the plaintiff does

   not seek damages from the individual defendant personally, but instead from the foreign state.

   See Smith Rocke Ltd., 2014 U.S. Dist. LEXIS 9692, at *32; Odhiambo, 930 F. Supp. 2d at 34–

   35; see also Nnaka v. Fed. Republic of Nig., 238 F. Supp. 3d 17, 31 (D.D.C. 2017) (“[E]ven if

   Nnaka was to obtain his desired judgment . . . against [an individual defendant] in his official



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   capacity, Nnaka would need to look to Nigeria in order to recover. That makes Nigeria the ‘real

   party in interest.’”).

            Both hallmarks are present here. The proposed amended complaint makes abundantly

   clear that Plaintiff seeks to sue Troz in solely her official capacity. See D.E. 70-2 ¶¶ 5, 71; see

   also id. ¶¶ 53, 82, 93, 96. It also repeatedly states that Plaintiff “does not seek damages from

   Ms. Troz’s own personal pocket.” D.E. 70-2 ¶¶ 6, 71. Indeed, Plaintiff admits that “Nicaragua

   and Chinandega are the real parties in interest in this lawsuit” and that Troz “is not the real party

   in interest.” D.E. 70-2 ¶¶ 7, 71.

            As demonstrated below, each of the claims against Nicaragua and Chinandega asserted in

   the proposed amended complaint is barred by foreign sovereign immunity. Therefore, any

   claims against Troz would also be barred by sovereign immunity, and would not survive a

   motion to dismiss.4

                 B. The Proposed Amended Complaint is Futile as to Nicaragua and Chinandega

            While Plaintiff invoked four FSIA exceptions in seeking to establish subject matter

   jurisdiction over his claims against the Sovereign Defendants in his original complaint, D.E. 1 ¶¶

   2, 13, he now invokes only two of these exceptions in his proposed amended complaint: the

   waiver exception in FSIA §1605(a)(1), and the commercial activity exception in §1605(a)(2).

   See D.E. 70-2 ¶¶ 42–69. Both are unavailing.




   4
     In his Omnibus Report and Recommendations, Magistrate Judge Goodman correctly held that an individual
   official could enjoy the same immunity as a foreign state under the FSIA when the foreign state is the real party in
   interest. D.E. 45 at 10. However, he declined to hold that Nicaragua and Chinandega were the real parties in
   interest in the context of the original complaint, given that Plaintiff alleged therein that Troz acted for her personal
   benefit and he sought damages from Troz in her personal capacity. See D.E. 45 at 10–11. Plaintiff has abandoned
   any pretense of suing Troz in her individual capacity and now avers that Troz’s alleged actions were for the benefit
   of Nicaragua and Chinandega, not herself. See D.E. 70-2 ¶¶ 5–7, 53, 71.


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                  1.      The proposed amended complaint’s reliance on the waiver exception is
                          futile.

          Plaintiff seeks to predicate subject matter jurisdiction on the waiver exception, FSIA

   §1605(a)(1). D.E. 70-2 ¶¶ 44–45. He is precluded from doing so, however, as he failed to object

   to the Magistrate Judge’s determination that the waiver exception is inapplicable. See D.E.

   51. Plaintiff improperly seeks a de novo determination of that issue in the guise of a motion to

   amend. W. Coast Life Ins. Co. v. Life Brokerage Partners, LLC, No. 08-80897, 2010 U.S. Dist.

   LEXIS 148540, at *13–14 (S.D. Fla. Jan. 14, 2010) (failure to timely object to issue addressed in

   report and recommendation precludes de novo determination of that issue by the district court);

   see also D.E. 45 at 28 (warning that “[f]ailure to file objections timely shall bar the parties from

   a de novo determination by the District Judge of an issue covered in the Report”).

          Even if Plaintiff had not waived the waiver exception, his proposed amended complaint

   would still be futile as to that exception. In determining that the original complaint did not

   satisfy §1605(a)(1), the Magistrate Judge observed that, in attempting to establish an implicit

   waiver of sovereign immunity, Plaintiff relied on an alleged contract between Nicaragua and

   Callejas, not one between Nicaragua and Plaintiff. D.E. 45 at 12–14. Thus, Plaintiff could not

   invoke the waiver exception against Nicaragua based on that alleged contract.

          The Magistrate Judge also correctly explained that, for a contract with a foreign

   sovereign to implicitly waive sovereign immunity, the contract must “contain an applicable

   arbitration provision or choice of law provision that proves that the contracting parties agreed to

   have lawsuits or arbitrations in the U.S. or that U.S. law would govern all disputes arising from

   the contract.” Id. at 14. Having said nothing about this before, Plaintiff now alleges that in 1998

   he entered into a contract with a Nicaraguan “organ” known as Instituto de Desarrollo Rural

   (“IDR”), later modified in 2005, under which the parties supposedly “agree[d] to an international


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   arbitration in the U.S.A.” D.E. 70-2 ¶ 45. He does not attach any such ancient contract to his

   proposed amended complaint.

          Even if it were true that there was such a contract, that would not be sufficient to

   constitute an implied waiver of Nicaragua’s or Chinandega’s sovereign immunity. First, Plaintiff

   does not explain how a contract signed by IDR could make Nicaragua a party to it. Second,

   Plaintiff does not allege that this purported contract remains in force twenty years after it

   allegedly went into effect. Third, Plaintiff does not explain why, if he agreed to “international

   arbitration,” and the arbitration provision is operative, he has instead commenced this lawsuit.

          For all these reasons, this latest shift in Plaintiff’s story is another exercise in futility. It

   is both too late and too little. The Court should not permit Plaintiff to amend his pleading to try

   to manufacture jurisdiction under the FSIA’s waiver exception. Any such effort has been waived

   and would otherwise be doomed to fail.

                  2.      The proposed amended complaint’s reliance on the commercial activity
                          exception is futile.

          Plaintiff also seeks to predicate subject matter jurisdiction on the commercial activity

   exception, FSIA §1605(a)(2). D.E. 70-2 ¶¶ 46–69. The Magistrate Judge found that the third

   prong of §1605(a)(2) was inapplicable because Plaintiff impermissibly relied upon his own

   (rather than the Sovereign Defendants’) commercial activity and, in any event, his allegations of

   financial loss were insufficient to constitute a “direct effect in the United States” as required by

   that prong. D.E. 45 at 17–18. Plaintiff did not object to that finding. See D.E. 51. While

   Plaintiff now makes a raft of new allegations about financial loss in the United States, D.E. 70-2

   ¶¶ 61–69, he has waived any argument as to the applicability of §1605(a)(2)’s third prong.

          Even if Plaintiff had not waived reliance on §1605(a)(2)’s third prong, his new

   allegations would be futile regardless. The allegations that his Nicaraguan company was


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   required to pay dividends to him in the United States have no jurisdictional significance. And he

   alleges no harm to that company, which is not a named plaintiff in any event. D.E. 70-2 ¶¶ 61–

   64. The allegations about the purported contract between Plaintiff and IDR fail under the

   commercial activity exception because Plaintiff has not explained how Nicaragua could be

   bound by the contract. Nor does Plaintiff allege that the IDR contract was executed in the United

   States or explain how it could possibly constitute “property rights, which are currently present in

   the U.S.A.” D.E. 70-2 ¶¶ 65–67. His final confused “direct effect” allegations concern

   Callejas’s alleged payment from Florida of rent to Chinandega and the alleged use of that rent to

   pay lawyers to represent the Nicaraguan Defendants in this lawsuit. Those allegations do not

   constitute either an “act outside the territory of the United States” or any “direct effect” that

   impacts Plaintiff in the United States. 28 U.S.C. §1605(a)(2); D.E. 70-2 ¶¶ 68-69.

          Plaintiff’s other attempts to resurrect the commercial activity exception also fail, for

   essentially the same reasons his earlier attempts failed. According to Plaintiff, in analyzing the

   commercial activity exception, the Magistrate Judge should have considered the alleged sale of

   meat and collection of funds in the United States and, if he had, he would have found that alleged

   conduct sufficient. D.E. 51 at 5. In determining whether Plaintiff’s claims satisfied §1605(a)(2),

   however, the Magistrate Judge’s Report did analyze Plaintiff’s allegations that the Sovereign

   Defendants sold meat products in the United States from cattle on El Pital, and his allegations

   that they collected funds from those sales here. D.E. 45 at 16–17. Correctly applying Supreme

   Court and Eleventh Circuit precedent, the Magistrate Judge found that “[t]he core of Plaintiff’s

   complaint against Nicaragua and Chinandega is based upon the ‘illegal taking’ of his personal

   and real property and Defendants’ failure to compensate him,” not the alleged ensuing sale of

   meat products and collection of funds from those sales in the United States. D.E. 45 at 14–17



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   (citing Saudi Arabia v. Nelson, 507 U.S. 349, 356–58 (1993); OBB Personenverkehr AG v.

   Sachs, 136 S. Ct. 390, 395 (2015); Beg v. Islamic Republic of Pakistan, 353 F.3d 1323, 1325

   (11th Cir. 2003)).

           The Magistrate Judge undertook the proper analysis required to determine whether

   §1605(a)(2) applies to Plaintiff’s claims. Nelson, 507 U.S. at 357 (the term “based upon” in

   §1605(a)(2) “mean[s] those elements of a claim that, if proven, would entitle a plaintiff to relief

   under his theory of the case”); OBB Personenverkehr, 136 S. Ct. at 396 (“[A]n action is ‘based

   upon’ the ‘particular conduct’ that constitutes the ‘gravamen’ of the suit. Rather than

   individually analyzing each of [a complaint’s] causes of action [the court is to] zero[] in on the

   core of . . . [the] suit.”).

           The gravamen of the proposed amended complaint—despite its efforts to attribute

   commercial “motives” to Nicaragua and Chinandega, D.E. 70-2 ¶¶ 25, 83—is the alleged taking

   of Plaintiff’s property in Nicaragua and the alleged torts related thereto. See D.E. 70-2 ¶¶ 78–99,

   133–86. In his opposition to the Sovereign Defendants’ motion to dismiss his original

   complaint, Plaintiff did not contest that such alleged conduct is inherently “governmental” in

   nature and, therefore, not within the commercial activity exception. See D.E. 25 at 12–14; D.E.

   37 at 5. That alleged governmental conduct in Nicaragua could not support jurisdiction under

   the commercial activity exception before, and it cannot support it now. Beg, 353 F.3d at 1325.

           The proposed amended complaint’s other attempts to establish jurisdiction under the

   commercial activity exception are also futile. None of those allegations provides any

   information about when any alleged meat sales, alleged collection of funds, alleged investments,

   alleged payments to “front men” and lawyers’ trust accounts, and “money laundry [sic]”

   occurred, and who other than Callejas was allegedly involved in such activities. See, e.g., D.E.



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   70-2 ¶¶ 26, 49, 50. As to Callejas’s alleged involvement, the proposed amendment continues to

   fail to make any allegation about how Callejas might be a Nicaraguan government official or

   otherwise authorized to act on either of the Sovereign Defendants’ behalf. See D.E. 45 at 11.

          For all these reasons, the proposed amended complaint does not plausibly plead the

   applicability of the commercial activity exception in §1605(a)(2).

                  3.      The proposed amended complaint fails to satisfy any other FSIA
                          exception.

          While Plaintiff has jettisoned the FSIA expropriation and tort exceptions from his

   jurisdictional allegations, see D.E. 70-2 ¶¶ 42–69, his proposed amended complaint retains

   expropriation and tort claims against the Sovereign Defendants. Id. ¶¶ 78–99, 133–42, 149–86.

   Beyond the absence of any jurisdictional allegations to support these claims, which is itself

   dispositive, there is no basis for asserting jurisdiction over these claims under FSIA §1605(a)(3)

   or (5), should Plaintiff seek to revive either or both those exceptions.

          The allegations of the proposed amended complaint offer no plausible explanation of how

   Plaintiff’s property was “taken in violation of international law” as required by §1605(a)(3).

   Plaintiff is silent about how Nicaragua supposedly “took possession of” El Pital “in January

   2008,” and at some unspecified point “transferred it to Chinandega’s dominion and control for

   management.” D.E. 70-2 ¶ 82. His only specific allegation as to how the Sovereign Defendants

   might have taken his property are that Nicaragua used Troz and Calljas to “forg[e] a series of

   legal documents and to use devices, such as a sham title to disguise the illegal taking” and

   “directed . . . Troz to ignore” a Nicaraguan court writ intended “to protect” him “from any illegal

   taking.” D.E. 70-2 ¶¶ 82, 93. Plaintiff does not identify what “legal documents” allegedly were

   forged, but presumably he means the same documents he earlier alleged Troz and Callejas used

   to record a forged title to El Pital in Callejas’s name. D.E. 1 ¶¶ 8, 29–30, 41, 47–53, 60, 66–67;


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   D.E. 30 ¶¶ 38–46. But that story make no sense. Why would Nicaragua, which—like all

   sovereigns—has the power of eminent domain, need to “disguise” a taking of property within its

   jurisdiction? And how could transferring title to El Pital to Callejas, a U.S. citizen, constitute an

   expropriation of property by Nicaragua and Chinandega? These allegations are nonsensical.

          The proposed amended complaint is also futile with respect to the expropriation

   exception’s jurisdictional nexus requirements. As to the first nexus clause, the allegedly

   expropriated property consists of El Pital and the cattle on it, and that property is indisputably in

   Nicaragua, not the United States. The same is true for any alleged rental payments that Callejas

   sent to Chinandega in Nicaragua. D.E. 70-2 ¶ 22. Further, the proposed amendment provides no

   information about how alleged “profits and revenues” from meat sales in the United States could

   meet the statutory requirement that such property be “currently present in the United States.”

   Alperin v. Vatican Bank, 365 Fed. Appx. 74, 75 (9th Cir. 2010) (emphasis added). Indeed, it is

   difficult to imagine how any meat products from any El Pital cattle that existed in January 2008

   or any revenues from those alleged meat products could possibly be present in the United States

   now, ten years later.

          As to the second nexus clause, the proposed amended complaint does not allege that any

   agency or instrumentality of Nicaragua “own[s] or operate[s]” the allegedly expropriated

   property, or that any such agency or instrumentality is engaged in a commercial activity in the

   United States.” Under FSIA §1603(b), neither Nicaragua nor Chinandega is an “agency or

   instrumentality.” The second nexus clause is thus categorically inapplicable.

           The proposed amendment also provides no basis for jurisdiction under the tort exception,

   FSIA §1605(a)(5). For that exception to apply, both the tortious act and the injury must occur in

   the United States. Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 441



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   (1989); Basulto v. Republic of Cuba, No. 02-21500, 2005 U.S. Dist. LEXIS 48556, at *13 (S.D.

   Fla. Jan. 19, 2006). All of the proposed amendment’s tort claims—conversion, trespass to land

   and chattels, intentional and negligent interference with prospective economic advantage, and

   intentional and negligent infliction of emotional distress, D.E. 70-2 ¶¶ 133–42, 149–86—are

   based on allegedly tortious acts in Nicaragua, e.g., illegally taking and operating El Pital,

   illegally turning Plaintiff’s cattle into meat products and interfering with his alleged business of

   selling meat, and interfering with Plaintiff’s alleged Nicaraguan law practice. Plaintiff’s

   contrived efforts to tie to the United States some of the alleged torts involving meat sales, see,

   e.g., D.E. 70-2 ¶¶ 161, 171, do not help him meet §1605(a)(5)’s requirements, as those alleged

   torts are all founded on conduct in Nicaragua. In sum, the Magistrate Judge’s finding that the

   torts alleged by Plaintiff in the original complaint occurred in Nicaragua applies with equal force

   to the torts alleged in the proposed amended complaint. D.E. 45 at 26. There is no subject

   matter jurisdiction over these claims under the FSIA.

              C. The Proposed Amended Complaint Is Futile For Other Reasons The
                 Nicaraguan Defendants Previously Have Raised

          The Nicaraguan Defendants moved to dismiss the original complaint on multiple

   grounds, only some of which the Magistrate Judge needed to reach to recommend dismissal of

   the action. In addition to being futile for the reasons stated above, the proposed amended

   complaint has no chance of overcoming the Nicaraguan Defendants’ prior arguments for

   dismissal, including without limitation for failure to serve process on the Sovereign Defendants

   in accordance with the FSIA, improper venue, failure to state a claim upon which relief can be

   granted, and lack of diversity jurisdiction as to the individual defendants. See D.E. 25 at 17–20;

   D.E. 26 at 2–20; D.E. 36 at 2–6; D.E. 37 at 2, 10–11.




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           The Nicaraguan Defendants will focus here only on the venue issue, which is plainly

   dispositive. Venue of an action against a foreign sovereign is governed exclusively by 28 U.S.C.

   §1391(f). Plaintiff invokes subsection (f)(1). D.E. 70-2 ¶ 76. That provision states than an

   action against a foreign state may be brought “in any judicial district in which a substantial part

   of the events or omissions giving rise to the claim occurred, or a substantial part of property that

   is the subject of the action is situated.”

           Plaintiff alleges as to venue that “[t]he locus of Plaintiff’s breach of contract occurred at

   Plaintiff’s principal place of residence and domicile in Miami Dade Florida” and that “Mr.

   Callejas, currently does business in state of Florida and . . . at one point all business of Mr.

   Callejas are incorporated in the State of Florida.” Id. ¶ 76–77. He conspicuously does not allege

   that the criteria of §1391(f)(1) are met, and they are not. As Magistrate Judge Goodman found

   when recommending dismissal of the original complaint, the “core” of Plaintiff’s complaint is

   the “‘illegal taking’ of his . . . property and Defendants’ failure to compensate him,” and those

   events all “occurred in Nicaragua, not the United States.” D.E. 45 at 15–16. Meat sales and the

   collection of funds in the United States—as well as the new U.S. activities that Plaintiff has

   cooked up—are “not the foundation of Plaintiff’s complaint.” D.E. 45 at 16; see also id. at 17.

   Plaintiff’s allegations about Callejas’s residence and activities in Florida do not help him show

   that §1391(f)(1) applies. They do not constitute the core of his claims, and he continues to fail to

   allege any basis for deeming Callejas a government official or otherwise authorized by

   Nicaragua or Chinandega to act on their behalf. See D.E. 45 at 11.

           Thus, assuming there were subject matter and personal jurisdiction, which there is not,

   the only district in which there would be venue over this action is the District of Columbia under

   28 U.S.C. §1391(f)(4).



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                                        IV.    CONCLUSION

          For the foregoing reasons, Plaintiff’s motion for leave to file an amended complaint

   should be denied as futile and the case should be dismissed with finality.



   Date: February 16, 2018                              Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that, on this 16th day of February 2018, we electronically filed
   the foregoing document with the Clerk of the Court using CM/ECF. We also certify that the
   foregoing document is being served this day on Plaintiff and all counsel of record, in the manner
   specified in the Service List below, either via transmission of Notice of Electronic Filing
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   authorized to receive electronically Notices of Electronic Filing.


                                                        /s/ Brian M. Silverio
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